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                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                    Case No. 1:19-cr-00401-BLW
                Plaintiff,
                                                    CRIMINAL INFORMATION
         vs.
                                                    18 U.S.C. § 1701
 MICHAL ALAN MOORE,

                Defendant.


       The United States Attorney charges:

                                           COUNT ONE

                                 Obstruction of Passage of Mail
                                       18 U.S.C. § 1701

       On or about November 5, 2019, in the District of Idaho, the defendant, MICHAL ALAN

MOORE, did knowingly and willfully obstructs and retards the passage of the mail, and any

carrier or conveyance carrying the mail, to wit: taking a tub of outgoing mail in the possession of

a mail carrier on his route, all in violation of Title 18, United States Code, Section 1701.




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     Dated this 6th day of August, 2020.

                                           BART M. DAVIS
                                           UNITED STATES ATTORNEY
                                           By:

                                           /s/ Raymond E. Patricco
                                           RAYMOND E PATRICCO
                                           ASSISTANT UNITED STATES ATTORNEY




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